8:05-cr-00145-LES-TDT   Doc # 65   Filed: 08/23/05   Page 1 of 1 - Page ID # 199



           IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:05CR145
                              )
          v.                  )
                              )
CAESAR HINOJOSA,              )                        ORDER
                              )
               Defendant.     )
______________________________)


          The Court notes a ruling on the report and

recommendation of the magistrate judge was premature.

Accordingly,

          IT IS ORDERED:

          1) Defendant’s motion to suppress is reinstated.

          2) Trial of this matter will be scheduled after

defendant has an opportunity to file objections to the report and

recommendation of the magistrate judge.

          3) The defendant has until August 25, 2005, to file

objections to the report and recommendation of the magistrate

judge.

          DATED this 23nd day of August, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
